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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
                                                        )
In re:                                                  )     Chapter 11
                                                        )
TINTRI, INC.,                                           )     Case No. 18-11625 (LSS)
                                                        )
                          Debtor.                       )     Docket Ref. Nos. 452 and 494
                                                        )

                  NOTICE OF (A) ENTRY OF ORDER CONFIRMING
                OFFICIAL COMMITTEE OF UNSECURED CREDITORS
          OF TINTRI, INC.’S PLAN OF LIQUIDATION UNDER CHAPTER 11 OF
         THE BANKRUPTCY CODE; (B) EFFECTIVE DATE; AND (C) BAR DATES

             PLEASE TAKE NOTICE that, on September 23, 2019, the Official Committee of
Unsecured Creditors of Tintri, Inc. (the “Committee”) filed the Amended Plan of Liquidation
Under Chapter 11 of the Bankruptcy Code [Docket No. 452] (the “Plan”).1

               PLEASE TAKE FURTHER NOTICE on October 8, 2019, the Court entered
Findings of Fact, Conclusions of Law and Order Confirming the Committee's First Amended Plan
of Liquidation Under Chapter 11 of the Bankruptcy Code [Docket No. 494] (the “Confirmation
Order”). Copies of the Plan, Confirmation Order, and claim forms may be obtained at no charge
from Omni, the claims agent retained by the Committee in this chapter 11 case (the “Notice and
Claims Agent”), by: (a) accessing the Notice and Claims Agent’s website at http://
www.omnimgt.com/Tintri or (b) writing to the Notice and Claims Agent at Tintri, Inc., c/o Omni
Management Group, Inc., 5955 De Soto Ave, Suite 100, Woodland Hills, CA 91367. You may
also obtain copies of any pleadings filed in this chapter 11 case for a fee via PACER at
http://www.ecf.deb.uscourts.gov.

                PLEASE TAKE FURTHER NOTICE on January 10, 2020, the Plan became
effective in accordance with its terms as set forth in Section 10 of the Plan (the “Effective Date”).

                    DEADLINES FOR FILING ADMINISTRATIVE CLAIMS
                         AND CONTRACT REJECTION CLAIMS

                PLEASE TAKE FURTHER NOTICE that in accordance with section 2.2 of the
Plan, all Administrative Claims against the Debtor shall be filed with the Bankruptcy Court, so as
to be actually received no later than February 10, 2020, (30 days after the Effective Date) unless
otherwise ordered by the Bankruptcy Court (the “Administrative Expense Claims Bar Date”), with
a copy served on counsel to the Liquidation Trustee.

                 PLEASE TAKE FURTHER NOTICE that in accordance with section 2.2.1 of
the Plan, all final requests for Payment of Professional Fee Claims pursuant to sections 327, 328,
330, 331, 503(b), or 1103 of the Bankruptcy Code must be served and filed with the Bankruptcy

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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
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Court, so as to be actually received no later than February 10, 2020 (30 days after the Effective
Date), unless otherwise ordered by the Bankruptcy Court, on each of the Debtor, counsel to the
Liquidation Trustee, and other necessary parties-in-interest.

                PLEASE TAKE FURTHER NOTICE that that in accordance with section 9.2 of
the Plan, all Rejection Damages Claims must be filed with the Bankruptcy Court, so as to be
actually received no later than February 10, 2020, (30 days after the Effective Date) unless
otherwise ordered by the Bankruptcy Court (the “Rejection Claims Bar Date”), with a copy served
on counsel to the Liquidation Trustee.

Dated: January 10, 2020                     WOMBLE BOND DICKINSON (US) LLP

                                            /s/ Ericka F. Johnson
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                                            Ericka F. Johnson (DE Bar No. 5024)
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